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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   Clarksburg

 STEVEN LAMONTE STANLEY,

                      Petitioner,

 v.                                                   Civil Action No.: 1:19-CV-152
                                                      Judge Bailey

 Mr. R. HUDGINS, Warden,

                      Respondent.


                          ROSEBORO ORDER TO PETITIONER

        The respondent has filed a Motion to Dismiss/Summary Judgment in response to
 your habeas petition pursuant to 28 U.S.C. § 2241. Because you are not represented by
 counsel, this “Roseboro Order” is issued to advise you of the dismissal/summary
 judgment procedures and the possible consequences if you fail to respond adequately to
 the respondent’s motion.

        You have 21 days from the date of this order to file any material in opposition
 to the motion that the respondent filed. If you fail to respond adequately, the court
 may grant the respondent’s motion, which may end your case.

        Pursuant to LR PL P 11(b), your response shall not exceed 25 pages. The
 respondent’s reply, if any, will be filed within 14 days of the docketing of your response
 and will not exceed 15 pages. LR PL P 11(c).

                            Explanation of Motions to Dismiss

        Motions to dismiss can be filed pursuant to Fed. R. Civ. P. 12. Many motions to
 dismiss are filed under Fed. R. Civ. P. 12(b)(6), in which the respondent usually argues
 that the law does not provide a right to relief for claims that a petitioner makes in his case.
 Because motions to dismiss usually concern questions of law and not questions of fact,
 the Court presumes as true the plausible facts of the petition for the purpose of a motion
 to dismiss.

         The court decides a motion to dismiss on the basis of the applicable law and
 pleadings, meaning the petition, the respondent’s answer (if any), the exhibits attached
 to the petition, documents that the petitioner incorporates by reference (provided they are
 both undisputed in pertinent to the pleaded claims), and materials of which the Court may
 take judicial notice. In some cases, the parties present materials outside of the pleadings,
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 such as affidavits or declarations in support of or in opposition to the motion to dismiss. If
 the Court, in its discretion, considers materials outside the pleadings, the motion to
 dismiss is converted to a motion for summary judgment under Fed. R. Civ. P 56. See
 Fed. R. Civ. P. 12(d).
                    Explanation of Motions for Summary Judgment
         Motions for summary judgment filed by respondents pursuant to Fed. R. Civ. P.
 56, and returns in support of such motions, argue that the petitioner’s claims are not
 supported by the specific facts of the case. Because motions for summary judgment
 concern both questions of law and questions of fact, if the court finds that there is not any
 genuine dispute as to any material fact on a claim, the Court will determine which party
 is entitled to judgment under the law. The court decides a motion for summary judgment
 on the basis of the applicable law, the pleadings, affidavits, declarations, and any other
 properly-submitted evidence.
                Your Response to the Respondent’s Motion/Response
         Your filing in opposition to the respondent’s Motion should include the following:
 (1) an explanation of your version of the facts, if different from respondent’s version of the
 facts; and (2) your legal argument regarding why the court should not grant the motion
 and end your case. Rule 56(c) requires that you support your version of all disputed facts
 with materials such as depositions, documents, electronically stored information,
 affidavits or declarations, stipulations (including those made for purposes of the motion
 only), admissions, interrogatory answers, or other materials. Your failure to support facts
 in dispute with such material may result in the court granting the motion. Any affidavits or
 declarations you file in opposition to summary judgment must be based on personal
 knowledge, contain facts admissible in evidence, and be signed by a person who would
 be competent to testify on matters contained in the affidavit or declaration if called to
 testify about them at trial. The Court will not consider affidavits, declarations, or exhibits
 that are unrelated to this case or affidavits or declarations that contain only conclusory
 statements or arguments of fact or law. If you fail to dispute the respondent’s version of
 the facts with proper support of your own version, the court may consider the respondent’s
 facts as undisputed.
        All affidavits, declarations, or other evidence you submit to the Court must be made
 in good faith and the facts sworn to in the affidavit or affirmed in the declaration must be
 true. All affidavits and declarations submitted in this case are submitted under penalties
 of perjury or subornation of perjury. 18 U.S.C. §§ 1621 and 1622. If the court finds that a
 party has presented affidavits, declarations, or other evidence in bad faith or only to delay
 the action, the court may order sanctions, payment of fees, or hold that party in contempt
 of court.
        IT IS SO ORDERED.
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         The Clerk of the Court is directed to mail a copy of this Order to the petitioner by
 certified mail, return receipt requested, to his last known address as reflected on the
 docket sheet and to all counsel of record via electronic means.
        DATED: January 25, 2022



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                                            JAMES P. MAZZONE
                                            UNITED STATES MAGISTRATE JUDGE
